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07
                                UNITED STATES DISTRICT COURT
08                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
09
     UNITED STATES OF AMERICA,            )
10                                        )
           Plaintiff,                     )
11                                        )               Case No.: 05-191M
           v.                             )
12                                        )
     SOYOMAYOR ALVARADO,                  )               DETENTION ORDER
13                                        )
           Defendant.                     )
14   ____________________________________ )

15
     Offense charged:
16
             Possession with Intent to Distribute Cocaine (21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2).
17
     Date of Detention Hearing:      Initial appearance, April 22, 2005.
18
             The Court conducted a detention hearing pursuant to 18 U.S.C. § 3142(f). Based upon
19
     the factual findings and statement of reasons for detention hereafter set forth, the Court finds that
20
     no condition or combination of conditions which defendant can meet will reasonably assure the
21
     appearance of defendant as required.
22
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
23
             (1)     The defendant has stipulated to detention due to the detainer placed on defendant
24
     by the Bureau of Immigration and Customs Enforcement, but reserved the right to file a
25
     subsequent motion for release if there is a change of circumstances.
26

     DETENTION ORDER                                                                              15.13
     18 U.S.C. § 3142(i)                                                                       Rev. 1/91
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01          (2)    Defendant is associated with three alias names.

02          (3)    Defendant appears to have no substantial ties to the community or to the Western

03 District of Washington.

04          (4)    No conditions or combination of conditions are apparent that will reasonably

05 assure the defendant’s appearance at future Court hearings.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant is

15                 confined shall deliver the defendant to a United States Marshal for the purpose of

16                 an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20
                   DATED this 25th day of April, 2005.
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23                                                /s/ JAMES P. DONOHUE
                                                  United States Magistrate Judge
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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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